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Case 1'1O-CV-00210-PLF Document 9 Fl|ed 06/22/10 Page 1 of

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Case 1:1O-cV-00210-PLF Document 9 Filed 06/22/10 Page 2 of 3
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Activity m ease 1 10 cv_00210 PLF LAIL er a1v UNITED sTATEs GOvERNMENT
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Case Name: LAIL et al V. UNITED STATES GOVERNMENT et al
Case Number: l:lO-cv-OO_ZIO¢PLF
Filer:

Document Number: No document attached

Docket Text:

MlNUTE ORDER denying [6] plaintiffs' motion for appointment of counsel
and [7] plaintiffs' motion for a stay or for an extension of time in which to
serve defendants. ln light of the factors outlined in Local Civi| Rule 83.11(b)
(3), the Court has determined that the appointment of counsel is not
appropriate in this case. The Court will not extend the period of time in
which the plaintiffs must effect service pursuant to Rule 4(m) of the Federal
Rules of Civil Procedure because the plaintiffs have failed to demonstrate
good cause for an extension. Signed by Judge Paul L. Friedman on June 4,
2010. (MA)

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Case 1:10-cv-00210-PLF Document 9 Filed 06/22/10 Page 3 of 3
Page 2 of2

JAMES B. SPENCER jamesbspencer@so.rr.com
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BRUCE BENSON

6710 West Lake Mead Boulevard
Suite 311

Las Vegas, NV 89105

DAN GREEN

5777 West Century Boulevard
Suite 1060

Los Angeles, CA 90045

IRENE SANTACROCE
205 Deer Trace Circle
Myrtle Beach, SC 29588

MARGUERITE STEPHENS
207 Deer Trace Circle
Myrtle Beach, SC 29588

NICHOLAS C. WILLIAMSON
8005 White Ash Court
Oak Ridge, NC 27310

RICKY STEPHENS
207 Deer Trace Circle
Myitle Beach, SC

RODNEY LAIL
P.O. Box 2753
Myrtle Beach, SC 29578

VIRGINIA WILLIAMSON

8005 White Ash Court
Oak Ridge, NC 27310

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